                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF WISCONSIN
                                MILWAUKEE DIVISION

JOSHUA WALLIS,                                   )
                                                 )
       Plaintiff,                                )
                                                 )
       v.                                        )       No. 2:10-cv-00909-AEG
                                                 )
CARDWORKS SERVICING, LLC                         )
                                                 )
       Defendant.                                )

                                   NOTICE OF SETTLEMENT

       NOW COMES the Plaintiff, JOSHUA WALLIS, by and through the undersigned counsel

and hereby informs the court that a settlement of the present matter has been reached and is in

the process of finalizing settlement, which Plaintiff anticipates will be finalized within the next

30 days.

       Plaintiff therefore requests that this honorable Court vacate all dates currently set on

calendar for the present matter.

                                              RESPECTFULLY SUBMITTED,

                                              By:__/s/ Gregory H. Moss________
                                              Gregory H. Moss
                                              Attorney for Plaintiff
                                              Krohn & Moss, Ltd.
                                              120 W. Madison St., 10th Floor
                                              Chicago, IL 60602
                                              312-578-9428
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                               CERTIFICATE OF SERVICE

       I hereby certify that on November 22, 2010, I electronically filed the foregoing Notice of

Settlement with the Clerk of the Court by using the CM/ECF System. A copy of said Notice was

electronically submitted to Kenneth M. Baumgart, Attorney for Defendant, by the Court’s

CM/ECF system.



                                                            s/ Gregory H. Moss
                                                            Gregory H. Moss
                                                            Attorney for Plaintiff




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